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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                          HAMMOND DIVISION AT LAFAYETTE


 MICHAEL E. DAUGHERTY,                     )
                                           )
       Plaintiff,                          )
                                           )
              v.                           ) CAUSE NO. 4:06-CV-128-AS-PRC
                                           )
 WABASH CENTER, INC. and                   )
 JEFFREY DARLING,                          )
                                           )
       Defendants.                         )
 _________________________________________ )
                                           )
 REST ASSURED, LLC,                        )
                                           )
       Counterclaimant,                    )
                                           )
       v.                                  )
                                           )
 MICHAEL E. DAUGHERTY,                     )
                                           )
       Counterclaim Defendant.             )

                          MEMORANDUM OPINION AND ORDER

        This matter is before the Court on the Motion to Dismiss the Counterclaim (Docket No. 38)

 filed by Plaintiff Michael E. Daugherty, the Motion for Summary Judgment (Docket No. 40) filed

 by Defendants Wabash Center, Inc. and Jeffrey Darling, and Plaintiff’s Motion to Strike (Docket No.

 45) certain materials designated by the Defendants in response to the Motion for Summary

 Judgment. The parties have fully briefed the issues, and the Court heard oral arguments on these

 motions in Lafayette, Indiana on June 25, 2008. For the reasons discussed below, the Plaintiff’s

 Motion to Strike is denied, the Defendants’ Motion for Summary Judgment is granted, and the

 Plaintiff’s Motion to Dismiss the Counterclaim is granted.
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                                   I. PROCEDURAL HISTORY

        On November 16, 2006, Mr. Daugherty filed an amended complaint alleging that Wabash

 Center and Mr. Darling terminated his employment with Wabash Center in retaliation for Mr.

 Daugherty’s use of leave under the Family and Medical Leave Act (“FMLA”), and failed to restore

 Mr. Daugherty to his former position upon return from his medical leave. Mr. Daugherty also

 alleged state law claims of breach of contract and conversion against Defendants Wabash Center,

 Mr. Darling, Rest Assured, L.L.C., and Steve McAninch. On February 26, 2007, Rest Assured filed

 a counterclaim against Mr. Daugherty alleging state claims of tortious breach of business relations

 and defamation, and included a request for permanent injunctive relief (Docket No. 20). On

 December 11, 2007, Mr. Daugherty’s state law claims (counts II and III of the amended complaint)

 were dismissed with prejudice by stipulation of the parties (Docket No. 36). Therefore, the claims

 that remain before this Court are Mr. Daugherty’s claims for retaliatory discharge and failure to

 reinstate under the FMLA (count I of the amended complaint), as asserted against Defendants

 Wabash Center and Mr. Darling, and Rest Assured’s counterclaim against Mr. Daugherty asserting

 relief only under state law.

                                   II. STANDARD OF REVIEW

        Pursuant to Rule 56(c) of the Federal Rules of Civil Procedure, summary judgment is proper

 only if there is no genuine issue as to any material fact and the moving party is entitled to judgment

 as a matter of law. See Nebraska v. Wyoming, 507 U.S. 584, 590 (1993); Celotex Corp. v. Catrett,

 477 U.S. 317, 322-23 (1986). In deciding a motion for summary judgment, a court must view all

 facts in the light most favorable to the nonmoving party as well as draw all reasonable and justifiable

 inferences in favor of that party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986);


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 NUCOR Corp. v. Aceros Y Maquilas De Occidente, 28 F.3d 572, 583 (7th Cir. 1994).

         The moving party bears the burden of identifying those portions of “the pleadings,

 depositions, answers to interrogatories, and admissions on file, together with the affidavits” that the

 moving party believes demonstrate an absence of genuine issue of material fact. Celotex, 477 U.S.

 at 323. Once this burden is met, the nonmoving party “must set forth specific facts showing that

 there is a genuine issue for trial.” FED . R. CIV . P. 56(e); Becker v. Tenenbaum-Hill Assocs., Inc., 914

 F.2d 107, 110 (7th Cir. 1990); Schroeder v. Lufthansa German Airlines, 875 F.2d 613, 620 (7th Cir.

 1989). “[A] party who bears the burden of proof on a particular issue may not rest on its pleading,

 but must affirmatively demonstrate, by specific factual allegations, that there is a genuine issue of

 material fact which requires trial.” Beard v. Whitley County REMC, 840 F.2d 405, 410 (7th Cir.

 1988). Therefore, if a party fails to establish the existence of an essential element on which the party

 bears the burden of proof at trial, summary judgment is proper. In this situation, there can be “‘no

 genuine issue of any material fact,’ since a complete failure of proof concerning an essential element

 of the nonmoving party’s case necessarily renders all other facts immaterial.” Celotex, 477 U.S. at

 323.

                                  III. FACTUAL BACKGROUND

         Wabash Center is a not-for-profit agency providing life enhancing services to disabled adults

 and children. Mr. Daugherty was employed as an at-will employee by Wabash Center in May 1999,

 until August 9, 2006.1 In January 2002, Mr. Daugherty became the Director of Information

 Technology (“IT”). In 2005, Mr. Daugherty was promoted to Vice President of IT, responsible for


         1
         While employed at Wabash Center, Mr. Daugherty invented a system for remotely
 monitoring patients using computers and other electronic devices, and Wabash Center contracted
 to pay Mr. Daugherty a portion of the gross revenues for the invention.

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 managing and supervising all of the IT staff and maintaining the IT technology. Mr. Daugherty also

 acted as the Vice President and Chief Information Officer of Rest Assured, L.L.C., a joint venture

 between ResCare, Inc. and Wabash Center. During his employment, Mr. Daugherty reported to

 Steve McAninch, Wabash Center’s Vice President of Finance, and Mr. McAninch reported directly

 to Jeffrey Darling, Wabash Center’s President.

        In March 2006, Mr. Daugherty received an outstanding performance rating, similar to his

 previous work performance evaluations. Shortly thereafter, in April 2006 through June 19, 2006,

 Mr. Daugherty engaged in inappropriate e-mail wars with other employees, including Wabash

 Center’s Business Office Manager, Renee Kelley, Director of Human Resources, Wendy Starr, and

 Assistant Director of Assisted Living Services, Tina Richter. Mr. Darling personally received many

 of the e-mail exchanges, and admonished Mr. Daugherty on June 12, 2006 for the inappropriate e-

 mails and poor managerial judgment. In addition, Mr. Darling received complaints from Rest

 Assured’s technical staff about Mr. Daugherty’s combative management style, and Mr. Darling

 provided this information to Mr. McAninch. On June 16, Mr. Darling told Mr. Daugherty about

 these employee complaints regarding Mr. Daugherty’s unprofessionalism. Mr. Daugherty agreed

 that he had a problem with his management style (as also admitted in his deposition), and sent both

 Mr. Darling and Mr. McAninch an e-mail on June 16, 2006 suggesting a ‘corrective action plan’ for

 his poor performance.2 On June 19, 2006, Mr. Darling further counseled Mr. Daugherty about his


        2
          Mr. Daugherty’s June 16, 2006 e-mail stated in relevant part: “Here is a rough draft of
 my plan of correction for myself. I started it a couple nights ago. As I discussed with you earlier
 and will tomorrow, I have had problems with my style. I am seeking assistance and it WILL
 improve!!! I am burying the hatchet with Wendy today, I have with Tina, and you WILL see
 better productivity with me. I will be meeting with the RA [Rest Assured] Team today to start on
 this as well!!” Mr. Daugherty’s e-mail goes on to list his work-related problems, including
 “Email war with HR” and “Not following correct procedures,” and it even provided Mr.

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 inappropriate e-mails, and Mr. Darling and Mr. McAninch provided him with a written warning

 about his poor management style. While Mr. Daugherty did not think he deserved a written warning,

 the underlying basis for the warning is not disputed. In addition, Mr. Darling refused to let Mr.

 Daugherty take his June vacation (which was approved in April) because work matters needed Mr.

 Daugherty’s immediate attention. After receiving his written warning on June 19, Mr. Daugherty

 went to see a doctor. Mr. Daugherty returned with a doctor’s prescription slip noting that he needed

 “off work two weeks due to medical illness.” As a result, Mr. Daugherty was granted leave under

 the FMLA for eleven days, until July 2, 2006 (but eventually this leave was extended three times).

        While Mr. Daugherty was on FMLA leave, Defendants discovered Mr. Daugherty’s

 unauthorized purchases of items to be delivered to his house, made without following appropriate

 procedures. Specifically, on June 18, 2006, Mr. Daugherty placed an order on Wabash Center’s

 MasterCard for a generator to be delivered to his home, without submitting a written requisition or

 receiving approval for the purchase— actions that violated explicit and direct instructions provided

 by Mr. McAninch to Mr. Daugherty on June 11, 2006. Mr. McAninch asked Ms. Starr to investigate

 other Wabash Center accounts for any other unauthorized purchases, which revealed that Mr.

 Daugherty had made five other unauthorized purchases, including a purchase made for “Daugherty’s

 Computers” to be delivered to Mr. Daugherty’s home address. Mr. Daugherty claims that he had

 difficulty getting items delivered to Wabash Center so he shipped them to his home, but did not keep

 the items for his personal use. However, Mr. Daugherty admitted to making purchases without prior

 approval.


 Daugherty’s resolutions, one of which was to “follow the correct procedures in terms of
 purchasing . . . [realizing that he] needs to get approval before hand.” See, Darling Aff., Exb. D;
 McAninch Aff., Exb. B

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        On June 21 and 22, 2006, Mr. McAninch wrote Mr. Daugherty and requested that Mr.

 Daugherty meet with him and Mr. Darling upon returning from FMLA leave on July 3, 2006, to

 discuss the status of his health situation and returning to work. On June 29, 2006, Wabash Center

 also wrote Mr. Daugherty to inform him for the first time that he was a “key employee” as defined

 by the FMLA,3 and that an extended absence from his duties would cause a significant financial

 hardship on the company. Mr. Daugherty does not dispute that he was in fact a “key employee,” nor

 does he present facts showing that his being granted FMLA leave time was affected by the

 designation; but he asserts that notice of the designation was not properly provided.

        On June 30, 2006, while Mr. Daugherty was on FMLA leave, Mr. McAninch discovered that

 he no longer had computer access to several e-mail files which were ‘to’ or ‘from’ Mr. Daugherty.

 Mr. McAninch suspected that Mr. Daugherty may have deleted this data since Mr. Daugherty had

 remote access to Wabash Center’s computer system. In addition, on June 30, Wabash Center

 experienced problems with its computer system as two of the computer systems crashed. In response

 to the computer systems crash, Wabash Center hired outside computer consultants to perform a

 security audit. In early July, the computer consultants submitted a report and informed Mr. Darling

 and Mr. McAninch of the computer systems’ security weaknesses, which Defendants attributed to

 Mr. Daugherty’s failure to perform his job responsibilities in the IT department.4

        At the meeting on July 3, 2006, Mr. Darling and Mr. McAninch presented Mr. Daugherty



        3
         To be a key employee, the employee’s income must be in the top 10% of the company,
 29 C.F.R. § 825.217, and the absence of the employee must cause the employer a substantial and
 grievous loss, 29 C.F.R. § 825.218.
        4
        This occurred despite an audit of the Defendants’ computer system completed in May
 2006, which revealed that the system was in good condition.

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 with a Plan of Corrective Action and a revised job description, and informed Mr. Daugherty that he

 would no longer supervise employees of Rest Assured. Although Mr. Daugherty disagreed with the

 Defendants’ disciplinary response, he again did not dispute his underlying poor performance. At the

 end of the meeting, Mr. Daugherty presented another doctor’s certificate, stating that he was unable

 to return to work until his re-evaluation on July 14, 2006. Before presenting the doctor’s note, Mr.

 Daugherty had not informed Mr. Darling or Mr. McAninch of his need for additional leave. Mr.

 Daugherty was given additional leave time as requested, but before Mr. Daugherty left the meeting,

 Mr. McAninch informed Mr. Daugherty that he was prohibited from accessing Wabash Center’s

 network or computer files while on leave, and requested the company keys and passwords to

 company computers and other electronic devices. Mr. Daugherty refused to comply with the request.

           On July 14, 2006, Mr. Daugherty faxed a medical certification for another extension of his

 leave time, and Wabash Center extended his FMLA leave up to and including August 14, 2006.

 During his leave, Mr. Daugherty repeatedly refused to provide the requested keys, passwords, files,

 and other information crucial to Wabash Center’s IT department—asserting that doing so would

 require him to work during his medical leave. As a result, Defendants hired a computer forensic

 expert on July 31, 2006, to analyze Mr. Daugherty’s Wabash Center computer. In early August of

 2006, the computer forensic expert informed Mr. McAninch that over five thousand files and

 directories (business data and personal items) were deleted from Mr. Daugherty’s hard drive on June

 19, 2006— the same day Mr. Daugherty received a written warning and then made his first request

 for FMLA leave. Mr. Daugherty claims that it was part of his job responsibilities to delete files and

 freeup space on the computer system, and that he did not delete files that he was not supposed to

 delete.


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        Mr. Daugherty was fired in writing on August 9, 2006 by Wabash Center’s President, Mr.

 Darling, who was aware of Mr. Daugherty’s engaging in e-mail wars with other employees, failure

 to follow proper purchasing protocol, refusal to provide passwords, keys and missing files

 throughout the duration of his leave, and failure to properly secure Wabash Center’s computer

 systems. Defendants state that Mr. Daugherty’s termination was due to his poor management style

 and misconduct demonstrated before June 19, and for Mr. Daugherty’s misconduct which occurred

 or was discovered after June 19. Defendants contend that Mr. Daugherty’s termination had nothing

 to do with his “key employee” designation under the FMLA or his requested leave under the FMLA.

        Mr. Daugherty alleges that he was performing to his employer’s reasonable expectations, and

 that Wabash Center and Darling fired him for requesting FMLA leave. Aside from Mr. Daugherty’s

 retaliation claim, he also asserts that he was entitled to reinstatement under the FMLA.

                                        IV. DISCUSSION

 A.     MOTION TO STRIKE

        Before addressing the merits of Defendants’ Summary Judgment Motion, Mr. Daugherty’s

 Motion to Strike (Docket No. 45) must be considered. Mr. Daugherty seeks to strike portions of the

 Affidavits of Mr. Darling5, Mr. McAninch6, and Ms. Starr7 arguing that the identified affidavit

 statements are hearsay, with the exception of paragraph 15 of Mr. McAninch’s affidavit (wherein



        5
         Plaintiff objects to paragraphs 8, 11, 14-16, and 17-22 contained in the Affidavit of
 Jeffrey Darling (Exb. 6 to Docket No. 41).
        6
         Plaintiff objects to paragraphs 6-7, 11, 13, 16, 22, and 30-31 contained in the Affidavit
 of Steve McAninch (Exb. 5 to Docket No. 41).
        7
         Plaintiff objects to paragraphs 3-4and 7 contained in the Affidavit of Wendy Starr (Exb.
 7 to Docket No. 41).

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 Mr. McAninch testifies to his suspicion that Mr. Daugherty deleted data and blocked access to the

 computer system), which Mr. Daugherty argues amounts to inadmissable speculation.

        During oral argument on the motion, Mr. Daugherty’s counsel conceded that the contested

 statements, with the exception of paragraph 15 of Mr. McAninch’s affidavit, are all admissible

 insofar as the statements are within the personal knowledge of the affiant and are not offered to

 prove the truth of the matter asserted (i.e. whether Mr. Daugherty actually committed the offenses).

 Thus, the parties agree that the affiants’ statements are admissible to the extent that they are offered

 to establish the Defendants’ honest beliefs or state of mind when making the decision to terminate

 Mr. Daugherty’s employment. See Brill v. Lante Corp., 119 F.3d 1266, 1271 (7th Cir. 1997).

        The Court agrees that the contested statements, including paragraph 15 of Mr. McAninch’s

 affidavit, are admissible and cannot be considered hearsay or speculation as offered to establish the

 Defendants’ honest beliefs or state of mind. The contested statements that are limited in this manner

 include the following: Darling and McAninch’s belief that Rest Assured staff found Mr. Daugherty

 difficult to work with and/or was being negatively influenced by Mr. Daugherty’s work style

 (Darling Aff. ¶ 8; McAninch Aff. ¶ 6), Darling and McAninch’s belief that Mr. Daugherty was

 responsible for Wabash Center’s computer system problems (Darling Aff. ¶¶ 17-22; McAninch Aff.

 ¶¶ 15, 16), and McAninch’s belief that, based on information provided by the computer consultants

 and computer forensic expert hired by Wabash Center, there were weaknesses with the security and

 back-up of the Wabash Center computer system and many files/directories were deleted from Mr.

 Daugherty’s hard drive on June 19, 2006 (McAninch Aff. ¶ 22, 30, 31; Starr Aff. ¶ 7).

        Furthermore, over objection, the Court accepts as true that on June 16, 2006, Mr. Daugherty

 acknowledged his poor behavior (arguing and engaging in e-mail wars) and failure to follow correct


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 procedures in purchasing items without approval, and that he offered a ‘self correction plan’ in an

 e-mail to Mr. Darling and Mr. McAninch (Darling Aff. ¶ 11; McAninch Aff. ¶ 7). The Court also

 finds that not only did Defendants believe that Mr. Daugherty failed to submit the proper requisition

 forms and made unauthorized purchases (Darling Aff. ¶¶ 14-16; McAninch Aff. ¶¶ 11, 13; Starr Aff.

 ¶¶ 3, 4), but Mr. Daugherty admitted to making some purchases without receiving prior approval

 (Daugherty Depo., p. 91-95).

        As such, the affidavit testimony provided by Mr. Darling, Mr. McAninch, and Ms. Starr is

 admitted with the specified limitations, and Plaintiff’s Motion to Strike (Docket No. 45) is DENIED.

 B.     MOTION FOR SUMMARY JUDGMENT

        The Family and Medical Leave Act of 1993, 29 U.S.C. § 2601 et. seq, entitles any eligible

 employee suffering from a serious health condition that renders the employee unable to perform the

 functions of the position to twelve workweeks of leave during each twelve-month period. 29 U.S.C.

 § 2612(a)(1)(D). After the period of qualified leave expires and the employee returns to work, the

 employee is entitled to be reinstated to his or her former position or to an equivalent position with

 the same benefits and terms of employment. 29 U.S.C. § 2614(a). The FMLA makes it unlawful for

 an employer to interfere with, restrain, or deny the exercise of or the attempt to exercise any FMLA

 rights, 29 U.S.C. § 2615(a)(1), and forbids an employer from retaliating against an employee who

 exercises FMLA rights. 29 U.S.C. § 2615(a)(2) (prohibiting discrimination against an individual who

 opposes practices made unlawful by the FMLA); 29 U.S.C. § 2615(b) (prohibiting discrimination

 against persons who participate in or institute FMLA proceedings or inquiries). The FMLA therefore

 contemplates both theories of recovery advanced here by Mr. Daugherty: discrimination/retaliation,

 requiring proof of discriminatory or retaliatory intent, and interference/entitlement, requiring only


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 proof that the employer denied the employee his entitlements under the Act. See Burnett v. LFW,

 Inc., 472 F.3d 471, 477 (7th Cir. 2006); Kauffman v. Federal Express Corp., 426 F.3d 880, 884-85

 (7th Cir. 2005).

        1.      Discrimination/Retaliation

        A plaintiff can avert summary judgment on an FMLA retaliation claim either by proffering

 direct or circumstantial evidence of his employer’s discriminatory motivation (known as the direct

 method), or by establishing that after taking FMLA leave he was treated less favorably than other

 similarly situated employees who did not take FMLA leave, even though he was performing his job

 in a satisfactory manner (otherwise known as the indirect method). Lewis v. School Dist. #70, 523

 F.3d 730, 741 (7th Cir. 2008) (citing Burnett, 472 F.3d at 481-82). Because Mr. Daugherty has not

 identified a similarly situated person who did not request FMLA leave and was treated more

 favorably,8 he must proceed under the direct method of proof.           See Mitchell v. Dutchmen

 Manufacturing, Inc., 389 F.3d 746, 750 (7th Cir. 2004) (failure to satisfy any one element of the

 prima facie case dooms an employee’s retaliation claim).

        Under the direct method, Mr. Daugherty must present evidence that his employer took

 materially adverse action against him—here, termination—on account of his using FMLA leave.

 Breneisen v. Motorola, Inc., 512 F.3d 972, 979 (7th Cir. 2008) (citing Burnett, 472 F.3d at 481). Mr.

 Daugherty need not prove that retaliation was the only reason for his termination, but he may



        8
          Mr. Daugherty does not attempt to identify a similarly situated unprotected employee
 treated more favorably than he, and plaintiff’s counsel conceded the point during oral argument
 on June 25, 2008. Further, had such an employee been identified, Mr. Daugherty still cannot
 establish a prima facie of retaliation because the undisputed facts show Mr. Daugherty’s
 unsatisfactory work performance at the time of his termination, to which even Mr. Daugherty
 acknowledged and derived a corrective plan of action for improvement.

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 establish an FMLA retaliation claim by “showing that the protected conduct was a substantial or

 motivating factor in the employer’s decision.” Lewis, 523 F.3d at 741-42 (citations omitted). “A

 motivating factor does not amount to a but-for factor or to the only factor, but is rather a factor that

 motivated the defendant’s actions.” Id. at 742.

         As mentioned, Mr. Daugherty may use two types of evidence to prove that his employer acted

 with a discriminatory motivation: direct evidence or circumstantial evidence. Lewis, 523 F.3d at 742

 (citations omitted); but see, Stone v. City of Indianapolis Public Utilities Division, 281 F.3d 640, 644

 (7th Cir. 2002) clarified by Gates v. Caterpillar, Inc., 513 F.3d 680, 686 (7th Cir. 2008) (finding that

 circumstantial evidence is relevant and probative on any of the elements of a direct case of

 retaliation) (citing Sylvester v. SOS Children’s Villages of Ill., Inc., 453 F.3d 900, 902 (7th Cir. 2006)

 and Treadwell v. Office of Ill. Secretary of State, 455 F.3d 778, 781 (7th Cir. 2006)). Direct

 evidence is evidence “which (if believed by the trier of fact) will prove the fact in question without

 reliance upon inference or presumption.” Lewis, 523 F.3d at 742. Direct evidence generally involves

 an admission or a statement by the decisionmaker regarding his discriminatory intent. Id.

 Circumstantial evidence “allows the trier of fact to infer intentional discrimination by the

 decisionmaker.” Id. Direct evidence is not required under the direct method of proof; circumstantial

 evidence that suggests discrimination, “albeit through a longer chain of inferences,” is sufficient. Id.

         If the plaintiff’s evidence is thereafter contradicted, the case must be tried unless the

 defendant presents unrebutted evidence that he would have taken the adverse employment action

 against the plaintiff even if the defendant lacked a retaliatory motive; in that event the defendant is

 entitled to summary judgment because he has shown that the plaintiff wasn’t harmed by retaliation.

 Stone, 281 F.3d at 644; Burnett, 472 F.3d at 481.


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        In this case, Mr. Daugherty argues that he has presented both direct and circumstantial

 evidence of a discriminatory motive sufficient to avert summary judgment under the direct method

 of proof. The Court disagrees. Mr. Daugherty fails to identify any admission of retaliatory animus

 and offers no evidence to suggest that the Defendants viewed FMLA leave time negatively,

 discouraged taking leave, made it difficult to seek leave, or made disparaging comments. In fact,

 after refusing to allow Mr. Daugherty to go on his vacation during the busy time, Defendants allowed

 Mr. Daugherty to take FMLA leave, and even granted him several extensions of leave time as

 requested, without incident.

        The most prominent evidence proffered by Mr. Daugherty is the fact that the Defendants

 designated Mr. Daugherty as a “key employee” without sufficient notice,9 and the fact that he was

 terminated while on FMLA leave.

        As to being designated a key employee, this designation affected Mr. Daugherty’s right to

 restoration of his job, or put another way, allowed Defendants, under certain circumstances, to deny

 job restoration to Mr. Daugherty at the time reinstatement was requested. See 29 C.F.R. § 825.216.

 Notably, Mr. Daugherty was not denied restoration, he was terminated. Even so, Mr. Daugherty

 never contested the fact that he was indeed a key employee; therefore, such a designation was

 appropriate. Viewing reasonable inferences in Mr. Daugherty’s favor, being a key employee

 necessarily contemplates the fact that Mr. Daugherty’s absence would negatively impact the

 company. However, Defendants concern over Mr. Daugherty’s management style and failure to



        9
           In reality, Mr. Daugherty only argues that his ‘key employee’ designation supports his
 retaliation claim under the indirect method of proof; however, for summary judgment purposes
 the Court also considers whether such evidence supports Mr. Daugherty’s claim under the direct
 method of proof.

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 follow purchase procedures, and even Mr. Daugherty’s ‘self correction plan’, did not concern the

 amount of time Mr. Daugherty was out of the office or attendance matters. Even after being notified

 of his key employee status, Defendants never addressed Mr. Daugherty’s absences; but, the record

 demonstrates that Defendants remained concerned about developing a plan to address Mr.

 Daugherty’s performance problems and finding a way to restore and update Wabash Center’s

 computer systems. Mr. Daugherty’s key employee designation does not suggest Defendants’ intent

 to discriminate.

        As to Mr. Daugherty’s contention that the time of his termination is sufficient to establish

 retaliation, the Court finds that the suspicious timing is not enough here to avoid summary judgment.

 See Wyninger v. New Venture Gear, Inc., 361 F.3d 965, 981 (7th Cir. 2004). While it is true that Mr.

 Daugherty’s termination occurred while he was on FMLA leave, “a temporal sequence analysis is

 not a magical formula which results in a finding of a discriminatory cause.” Buie v. Quad/Graphics,

 Inc., 366 F.3d 496, 506 (7th Cir. 2004). By itself, temporal proximity would not normally create an

 issue of material fact as to causation, although it could suffice where the adverse action followed on

 the heels of the employer’s discovery of the employee’s disability. Id. (citing King v. Preferred

 Technical Group, 166 F.3d 887, 893 (7th Cir. 1999) (reasoning that temporal proximity created an

 issue of fact where the plaintiff’s termination occurred one day after she finished her FMLA leave)).

        This is not a case of sudden dissatisfaction with an employee’s performance following the

 exercising of a protected right. While it is true that Defendants were satisfied with Mr. Daugherty’s

 work performance for several years, Mr. Daugherty engaged in undisputed inappropriate conduct in

 April and June 2006, which resulted in a written warning and Mr. Daugherty’s creation of a ‘self

 correction plan’—all before Mr. Daugherty requested FMLA leave time.                Defendants only


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 discovered Mr. Daugherty’s failure to comply with purchasing procedures for particular items and

 failure to fulfill his IT job responsibilities while he was on FMLA leave. Also, Defendants’ request

 for passwords, keys, and access to needed IT Department information did not require Mr. Daugherty

 to “work” or fulfill his normal daily duties while on leave. Mr. Daugherty was already present at the

 July 3 meeting with Mr. Darling and Mr. McAninch, when after the meeting Mr. Daugherty

 requested additional leave time and the Defendants requested that Mr. Daugherty provide the IT

 information. Mr. Daugherty refused to supply the information. Yet, he was afforded an extension

 of his leave. This insubordination, and Wabash Center’s hiring computer experts to assist with the

 IT Department, again, occurred while Mr. Daugherty was on FMLA leave. Although Mr. Daugherty

 has evidence of a close temporal sequence, he lacks evidence supporting an inference of a causal

 link, and taken as a whole, Mr. Daugherty’s evidence does not create an issue of fact, nor a

 reasonable inference of retaliation.

        Even if Mr. Daugherty were able to identify sufficient evidence from which a jury could infer

 retaliation, the Defendants would be entitled to summary judgment because the record evidence

 establishes that Mr. Daugherty would have been fired even absent his use of FMLA leave. See Cole

 v. Illinois, 2008 WL 695369 *10 (C.D.Ill. March 12, 2008). Mr. Daugherty admitted many of his

 shortcomings and derived his own ‘self correction plan.’ While on medical leave, Mr. Daugherty

 continually refused to provide information necessary to the proper functioning of Wabash Center’s

 IT Department, which eventually lead to Defendants’ discovery of Mr. Daugherty’s failure to fulfill

 his IT job responsibilities. The unrebutted evidence clearly establishes that Mr. Daugherty would

 have been terminated even if Defendants had no retaliatory motive, due to Mr. Daugherty’s poor

 management skills, failure to follow proper procedures, and insubordination—all valid


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 nondiscriminatory basis for termination.

           2.     Interference/Entitlement

           Mr. Daugherty alleges that Defendants denied his right to be reinstated. The FMLA provides

 the substantive right that eligible employees are entitled to reinstatement, see 29 U.S.C. § 2614(a)(1),

 however, that right “[s]hall [not] be construed to entitle any restored employee to . . . any right,

 benefit, or position of employment other than any right, benefit, or position to which the employee

 would have been entitled had the employee not taken leave.” 29 U.S.C. § 2614(a)(3)(B); see 29

 C.F.R. §§ 825.216(a), 825.312(d); see also Kohls v. Beverly Enterprises Wisconsin, Inc, 259 F.3d

 799, 804 (7th Cir. 2001) (citing Rice v. Sunrise Express, Inc., 209 F.3d 1008, 1017-18 (7th Cir.

 2000)).

           Accordingly, Mr. Daugherty must establish that: (1) he was eligible for the FMLA’s

 protections, (2) his employer was covered by the FMLA, (3) he was entitled to leave under the

 FMLA, (4) he provided sufficient notice of his intent to take leave, and (5) his employer denied him

 FMLA benefits to which he was entitled. Burnett, 472 F.3d at 477. The only contested issue is

 whether Mr. Daugherty has established by a preponderance of the evidence that he is entitled to

 reinstatement. Mitchell v. Dutchmen Manufacturing, Inc., 389 F.3d 746, 748-49 (7th Cir. 2004)

 (citing Kohls v. Beverly Enter. Wis., Inc., 259 F.3d 799, 804 (7th Cir. 2001);but see Rice v. Sunrise

 Express, Inc., 209 F.3d 1008, 1019 (7th Cir. 2000) (Evans, J., dissenting), reh’g denied, 217 F.3d

 492, 493 (7th Cir. 2000) (Diane P. Wood, J., dissenting from denial); 29 C.F.R. § 825.216(a)(1)

 (explaining that an employer must be able to show that an employee would not otherwise have been

 employed at the time reinstatement is requested in order to deny restoration to employment)). An

 employee who is laid off during the course of his leave has no right to reinstatement. 29 C.F.R. §


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 825.216(a)(1). However, an employee may not be fired because he took leave, 29 U.S.C. §

 2615(a)(2), but may be fired for poor performance when he would have been fired for such

 performance even absent his leave. See Phelan v. City of Chicago, 347 F.3d 679, 683 (7th Cir. 2003)

 (citing Kohls, 259 F.3d at 805).

        Mr. Daugherty was aware of his performance problems, admitted areas that he needed to

 improve in, and even discussed these performance issues with Mr. Darling and Mr. McAninch before

 Mr. Daugherty ever requested FMLA leave time. Instead of terminating Mr. Daugherty, Defendants

 gave Mr. Daugherty a written warning, refused to let Mr. Daugherty take vacation time, and allowed

 Mr. Daugherty to implement strategies for his improvement. Thereafter, Mr. Daugherty took FMLA

 leave. During this time, Defendants discovered more deficiencies, including Mr. Daugherty’s

 mishandling of additional purchases and his failure to properly maintain Wabash Center’s computer

 systems. At the meeting on July 3rd (before Mr. Daugherty requested his first extension of leave),

 Defendants did not terminate Mr. Daugherty, but instead presented him with a plan of correction

 action, and a revised job description placing Mr. Daugherty on a probationary status. Mr. Daugherty

 then requested another extension, and Defendants granted Mr. Daugherty additional FMLA leave

 time. This is when Defendants experienced Mr. Daugherty’s blatant refusal to provide necessary IT

 information, which required the hiring of computer experts and led to the discovery of Mr.

 Daugherty’s deletion of thousands of business and personal files. The fact that the leave permitted

 the employer to discover the problems cannot logically be a bar to the employer’s ability to fire the

 deficient employee. Kohls, 259 F.3d at 806. Although Mr. Daugherty may not agree with his being

 terminated, this Court’s role is not to tell employers how to discipline employees; rather, it is to

 ensure that the process is not discriminatory—here, it was not. See Kohls, 259 F.3d at 805. As an


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 at-will employee, Mr. Daugherty could have been terminated for his inappropriate work behavior

 while he was at work, or while he was on leave. See id. For this reason, Mr. Daugherty is unable to

 produce evidence from which a reasonable trier of fact could conclude that he was entitled to be

 reinstated, or in other words, that Defendants would not have discharged him had he not taken

 FMLA leave, and summary judgment is appropriate. See Kohls, 259 F.3d 804-05.

 C.     MOTION TO DISMISS THE COUNTERCLAIM

        Counterclaimant, Rest Assured, L.L.C., only remains a party to the litigation on account of

 its allegations against Mr. Daugherty based on state law to which this Court has supplemental

 jurisdiction over pursuant to 28 U.S.C. § 1367(a). Because Mr. Daugherty’s federal claims have

 failed to survive summary judgment, Rest Assured’s claims are without a common nucleus of

 operational facts, and this Court fails see how Rest Assured’s state law claims would be more

 expediously determined in this Court than in some appropriate state court. Therefore, the Court

 declines to exercise supplemental jurisdiction. 28 U.S.C. § 1367(c)(3); Bean v. Wisconsin Bell, Inc.,

 366 F.3d 451, 456 (7th Cir. 2004). Additionally, Rest Assured’s undeveloped argument that

 complete diversity would necessarily exist in a lawsuit between Rest Assured and Mr. Daugherty,

 does not meet the jurisdictional requirement. See Thomas v. Guardsmark, L.L.C., 487 F.3d 531,

 533-34 (7th Cir. 2007). As such, Mr. Daugherty’s motion to dismiss the counterclaim is granted,

 and Rest Assured L.L.C.’s counterclaim is dismissed without prejudice.

                                        V. CONCLUSION

        Viewing the record in the light most favorable to the non-movant, Mr. Daugherty cannot

 demonstrate that Defendants would not have terminated him for his conduct absent his FMLA leave.

 The uncontested facts reveal that Defendants terminated Mr. Daugherty for legitimate reasons,


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 unrelated to the protections afforded by the FMLA. Having been lawfully terminated, Mr. Daugherty

 was not entitled to reinstatement.

        Mr. Daugherty’s retaliation claim fails where he has not established a prima facie case of

 retaliation under the indirect method because no similarly situated unprotected employee was treated

 more favorably than he. Had he identified such an employee, there is no dispute that Mr. Daugherty

 was not preforming his job duties satisfactorily at the time of his termination. Under the direct

 method, Mr. Daugherty has produced insufficient evidence that Defendants terminated him on

 account of his use of FMLA leave. Had he done so, Defendants presented unrebutted evidence that

 Mr. Daugherty would have been terminated even if Defendants had no retaliatory motive.

        Based on the foregoing, the Court DENIES Plaintiff Mr. Daugherty’s Motion to Strike

 (Docket No. 45), GRANTS Defendants Wabash Center, Inc. and Jeffrey Darling’s Motion for

 Summary Judgment (Docket No. 40), and DIRECTS the clerk to enter judgment in favor of

 Defendants Wabash Center, Inc. and Mr. Darling and against Plaintiff Mr. Daugherty on the

 Amended Complaint. Because the Court asserts no jurisdiction over the remaining purely state law

 counterclaims made by Rest Assured, L.L.C., Plaintiff Michael E. Daugherty’s Motion to Dismiss

 the Counterclaim (Docket No. 38) is GRANTED, and Rest Assured L.L.C.’s counterclaim is

 DISMISSED WITHOUT PREJUDICE. This case is considered closed, with each party to bear

 its own costs.

 SO ORDERED.

 DATED: July 18, 2008
                                                     /s/ ALLEN SHARP
                                               ALLEN SHARP, JUDGE
                                               UNITED STATES DISTRICT COURT



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